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                             UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


 IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
 LIABILITY LITGATION
                                                  Case No. 16-md-02741-VC
 This document relates to:
                                                  PRETRIAL ORDER NO. 145:
 Hardeman v. Monsanto, 3:16-cv-00525-VC
                                                  JUDGMENT




       This action having come for trial before this Court and jury and the issues having been

tried and the jury having duly rendered its verdict on March 27, 2019,

       IT IS ORDERED AND ADJUDGED that the Plaintiff, Edwin Hardeman, shall recover

from the Defendant, Monsanto Company, the following sums for compensatory damages:

 (a) Past economic loss for Edwin Hardeman                         $200,967.10

 (b) Past noneconomic loss for Edwin Hardeman                      $3,066,667.00

 (c) Future noneconomic loss for Edwin Hardeman                    $2,000,000.00

 TOTAL COMPENSATORY DAMAGES:                                       $5,267,634.10

       IT IS FURTHER ORDERED AND ADJUDGED that the Plaintiff, Edwin Hardeman,

shall recover from the Defendant, Monsanto Company, $75,000,000.00 in punitive damages.

Thus, the total judgment in this case pending determination of awardable costs is

$80,267,634.10.

       IT IS FURTHER ORDERED THAT Defendant, Monsanto Company, shall pay

interest upon this judgment at the federal interest rate governed by 28 U.S.C. § 1961, and shall
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pay for recoverable court costs incurred in this action by the Plaintiff as determined by this Court

following submission by Plaintiff of his bill of costs.

       Execution may issue for all judgment amounts, interests, and costs thirty (30) days after

entry of the judgment.

       IT IS SO ORDERED.

Dated: May 3, 2019
                                                 ______________________________________
                                                 VINCE CHHABRIA
                                                 United States District Judge
